      Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 1 of 41 PageID #:1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

    JANET WALLACH, individually and on           )
    behalf of similarly situated individuals,    )
                                                 )
            Plaintiff,                           )       No. 1:24-cv-3356
                                                 )
                           v.                    )
                                                 )
    SILVERCREEK REALTY GROUP LLC,                )       JURY TRIAL DEMANDED
    an Idaho limited liability company,          )
                                                 )
            Defendant.                           )
                                                 )

                                  CLASS ACTION COMPLAINT

       Plaintiff, Janet Wallach, individually and on behalf of other similarly situated individuals,

brings this Class Action Complaint against Defendant, Silvercreek Realty Group LLC (hereinafter

“Defendant” or “Silvercreek”), and alleges as follows based on personal knowledge as to her own

acts and experiences, and as to all other matters, on information and belief, including an

investigation by her attorneys.

                                   NATURE OF THE ACTION

       1.       This action is brought against Silvercreek – the largest residential real estate

brokerage in Idaho by sales volume and the eighteenth largest independent brokerage in the United

States – for engaging in a conspiracy that perpetuates anti-competitive measures in the real estate

broker services market. Defendant’s anticompetitive conduct has harmed homebuyers by, among

other things, artificially inflating the commissions paid to real estate brokers and burdening

homebuyers nationwide with increased home prices and unnecessarily high costs.

       2.       Defendant and its co-conspirators are members of the National Association of

Realtors (“NAR”), a national trade association that offers many advantages to its members,



                                                 1
         Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 2 of 41 PageID #:2




including access to the primary Multiple Listing Services (“MLSs”) with detailed information on

available properties. NAR and its members establish and enforces rules, policies, and practices

that are adopted by NAR’s 1,400+ local associations and their affiliated MLSs (“NAR MLSs”).

According to its website, more than 1.5 million real estate professionals across thousands of

different brokerages and real estate firms are members of NAR. 1

          3.      The typical residential real estate transaction includes a real estate professional on

both the buyer-side (“buyer-agent”) and the seller-side (“seller-agent” or “seller-broker”) who

work for brokerage firms like Defendant and are paid commissions based on a percentage of the

home’s sale price. The seller-broker lists the seller’s property for sale on an MLS, while the buyer-

agent searches the MLS to find properties to propose to their buyer. In this way, the MLSs act as

searchable databases that serve as a marketplace for properties listed for sale in a given area. The

vast majority of residential real estate transactions are facilitated through NAR realtors who list

available properties on an MLS. According to the Department of Justice (“DOJ”), MLSs are a joint

venture among competing brokers to facilitate the publishing and sharing of information about

homes for sale in a geographic area.2

          4.      Both the supply side and the demand side of the housing market depend on MLSs.

In order to effectively market and sell a property, a seller-broker has little choice but to list that

property on an MLS because that is where buyer-agents search for properties. Similarly, in order

to understand the marketplace and determine which homes are listed for sale, a buyer-agent has




1
    https://www.nar.realtor/
2
    See DOJ Backgrounder Q&A: National Association of REALTORS®, available at:
https://www.justice.gov/opa/press-
release/file/1338606/download#:~:text=NAR’s%20Commission%2DConcealment%20Rules%20recomm
end,commission%20offered%20to%20buyer%20brokers.



                                                    2
      Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 3 of 41 PageID #:3




little choice but to search an MLS for properties. As such, MLSs are the digital gateway to

homebuying and selling and comparatively few sales occur outside of the use of MLSs.

        5.     MLSs are regional by nature and serve certain geographic areas. According to the

DOJ, membership of an MLS is generally comprised of nearly all residential real estate brokers

and their affiliated agents in an MLS’s service area. In each area an MLS serves, the MLS will

include or “list” the vast majority of homes that are for sale through a residential real estate broker

in that area. In most areas, the local MLS provides the most up-to-date, accurate, and

comprehensive compilation of the area’s home listings.

        6.     There are hundreds of MLSs in the United States, which are tailored to specific

regions. For example, the Intermountain Multiple Listing Service (“IMLS”) is an MLS that covers

the majority of counties in western and central Idaho. IMLS is a NAR MLS that serves the NAR-

associated Boise Regional REALTORS3 (“BRR”), which requires NAR membership for access.

The majority of MLSs, including most large regional MLSs, require NAR membership for access

to listings.

        7.     To be a member of NAR and enjoy the benefits of NAR membership, real estate

brokerage firms such as Silvercreek must adhere to and agree to implement NAR’s regulations

and guidelines, including those which apply to broker commissions.

        8.     Silvercreek is heavily intertwined with NAR, which is headquartered in Chicago.

NAR frequently names brokers from large residential real estate firms such as Silvercreek to serve

in leadership positions concurrently with their position as real estate brokers. For example, in 2017,



3
 See generally
https://www.boirealtors.com/#:~:text=In%20addition%20to%20programs%20in,the%20REALTORS%C
2%AE%20Community%20Foundation




                                                  3
      Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 4 of 41 PageID #:4




Krista Deacon, a leading broker with Silvercreek, was a Director for NAR.4 These individuals

guide NAR’s strategic direction and policymaking in such areas as legislation, professional

standards, and business services—influencing the NAR rules that apply to the real estate industry

nationally.

        9.      NAR has promulgated anti-competitive rules related to broker commissions that

include mandatory (i.e. non-negotiable) allocation of a portion of the home sale price toward

buyer-agent commissions (the “Mandatory Commission Rule”).5 This rule eliminates competition

between buyer-agents with respect to their commission rate and the quality of their services. The

lack of competition leads to homebuyers paying inflated commission rates and receiving lower

quality services. Further, the Mandatory Commission Rule overcompensates buyer-agents at the

homebuyers’ expense.

        10.     Moreover, during the relevant time period, NAR and its co-conspirators such as

Silvercreek exacerbated the anti-competitive effect of the Mandatory Commission Rule through

other rules which prohibit buyer-agents from making home purchase offers contingent upon a

reduction of the buyer-agent’s commission (“Non-Modification Rules”)6 and prohibit the




4
 See 2017 NAR Form 990 at 8, available at
https://projects.propublica.org/nonprofits/organizations/361520690/201833189349312968/full; see also
RE-21 Deep Dive | Krista Deacon, available at https://toolbox.silvercreekrealty.net/calendar/event/re-21-
deep-dive-krista-deacon-meridian-classroom-live-stream-2/.
5
 2023 Handbook on Multiple Listing Policy, National Association of REALTORS® at p. 41; MLS
Policy Statement 7.31 available at:
https://cdn.nar.realtor/sites/default/files/documents/pdf_mls_handbook-2023-08-
11.pdf?_gl=1*6co9sx*_gcl_au*ODk0MjQ3MzYxLjE3MDE2NjYyNjQ. (hereinafter “NAR MLS
Handbook 2023”)
6
 Code of Ethics and Arbitration Manual 2023, National Association of REALTORS®, at Standard of
Practice 16-16 available at: https://cdn.nar.realtor/sites/default/files/documents/2023-coe-standards-of-
practice-2022-12-28.pdf (hereinafter “NAR Code of Ethics 2023”).




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        Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 5 of 41 PageID #:5




disclosure to buyers of the commission to be paid to buyer-agents (“Commission Concealment

Rule”).7

          11.    The result is that the amounts of buyer-agents’ commissions are inflated, and this

fact is opaque and ill-understood by the homebuyers whose home prices fund those commissions.

          12.    These anti-competitive rules permit Defendant and other NAR members to sustain

buyer-agent fees at artificially high levels which would not exist in a competitive marketplace.

          13.    Defendant and the members of NAR further protected and promoted their

conspiracy by exerting control over and manipulating the MLSs, which act as the gateway to

homebuying and selling. NAR offers its members exclusive access to NAR MLSs that are widely

used to facilitate homebuying and selling.

          14.    NAR MLSs permit buyer-agents to filter searches for properties by commission

amount, and during the relevant time period, NAR ethics rules permitted buyer-agents to show

these filtered properties with high commissions to buyers (“MLS Manipulation Practices”).8

Naturally, this conflict of interest led to buyer-agents promoting properties that would maximize

their commission, which reduced demand for properties that offered lower commissions and thus

eliminated competition from discount brokers. This harmed homebuyers, who received

diminished, biased services from buyer-agents who steered homebuyers toward purchasing homes

that offered high commissions.




7
    NAR MLS Handbook 2023 at p. 40, Policy Statement 7.23.
8
 2018 Handbook on Multiple Listing Policy, National Association of REALTORS®, at p. 23 Policy
Statement 7.58; P. 81 Section 18.2.4 available at:
https://www.nar.realtor/sites/default/files/documents/2018-HMLP-v1.pdf (hereinafter “NAR MLS
Handbook 2018”).




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        Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 6 of 41 PageID #:6




          15.    Defendant and the other members of NAR also protected and promoted their

conspiracy by exerting control over and manipulating the homebuying experience. During the

relevant time period, the NAR ethics code permitted and encouraged buyer-agents to advertise

their services as “free,” even though buyer-agents are in fact paid a commission from the sale price

of the home that the buyer pays.9 NAR regulations during the relevant time period also limited

physical access to houses for sale to only NAR members, further reducing competition from

unaffiliated brokers.10

          16.    This anti-competitive behavior has led to buyers paying inflated fees for

misrepresented “free” broker services, overpaying for properties (whose purchase price necessarily

includes the inflated commissions that cannot be reduced), and receiving overpriced and biased

broker services. Realtors’ collusive conduct, which begins at the very gateway to homebuying (the

MLSs) and extends through the homebuying process, also drives competitors out of business.

          17.    NAR’s anticompetitive rules and practices, adopted and enforced by NAR

members including Silvercreek, constitute agreements among real estate brokers who would

otherwise be competing. Silvercreek’s implementation of these agreements is clearly an anti-

competitive and unreasonable restraint on trade that benefits only Silvercreek and other NAR

members.

          18.    Since late 2020, when the Department of Justice sued NAR for antitrust violations,

NAR has begun walking back from certain anti-competitive rules discussed herein. However, the

harms caused to American homebuyers for decades have not been remedied, nor have the billions



9
 Code of Ethics and Arbitration Manual 2018, National Association of REALTORS®, at p. 10 Standard
of Practice 12-2, available at: https://www.nar.realtor/sites/default/files/documents/2018-CEAM-v1.pdf
(hereinafter “NAR Code of Ethics 2018”).
10
     NAR MLS Handbook 2023, at p. 41 MLS Policy Statement 7.31.



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      Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 7 of 41 PageID #:7




in ill-gotten commissions been disgorged. During the relevant time period and prior to NAR’s

rules and policies being challenged, however, the rules, regulations, and practices that furthered

the conspiracy remained materially consistent.

       19.     Defendant wields significant market power, as the eighteenth largest independent

real estate brokerage in the United States and the largest real estate brokerage in Idaho with over

$7 billion in sales volume in 2022. Defendant’s prominent market position means that its

involvement is crucial to the success of the conspiracy with NAR and other brokers. Defendant

has consented to engage in, facilitate, and execute this conspiracy, playing a significant role within

NAR and mandating its affiliates to comply with NAR’s anti-competitive agreements as a

prerequisite for accessing the benefits of Defendant’s brand and infrastructure, including MLSs.

       20.     Defendant’s and its co-conspirators’ advancement of the conspiracy has markedly

diminished competitive practices in the buyer-agent service sector, negatively impacting

homebuyers. This conspiracy has empowered Defendant and other market participants to elevate

and stabilize buyer-agent fees at levels that are unnaturally high compared to those supported by a

competitive market, thus harming homebuyers. Among other anti-competitive effects, the

conspiracy allows brokers to favor properties that offer higher commissions by overlooking or

concealing lower commission options that might better suit the buyers’ requirements.

       21.     The conspiracy has resulted in inflated buyer-agent commissions, higher average

cost of homes, and lower quality services provided to homebuyers as a result of buyer-agents who

are incentivized to avoid lower commission properties and receive supracompetitive commissions

regardless of their experience or the level of services they provide.




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      Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 8 of 41 PageID #:8




       22.     Plaintiff and the other Class and Subclass members have suffered significant

monetary damages, each incurring thousands of dollars in excess commission fees, due to

Defendant’s engagement in the conspiracy.

       23.     Defendant’s participation in the conspiracy has unreasonably restrained trade in

violation of Section 1 of the Sherman Act (15 U.S.C. § 1), as well as Idaho antitrust and consumer

protection laws, and the common law. Accordingly, Plaintiff, on her own behalf and on behalf of

the Class and Subclass members, brings suit against Defendant for this unlawful conduct, seeking

treble damages, an order for injunctive relief, and an award of reasonable attorneys’ fees.

                                            PARTIES

       24.     Plaintiff, Janet Wallach, is a resident and citizen of Idaho. In 2016, Plaintiff

purchased a home in Star, Idaho using a buyer-agent affiliated with Defendant. The home Plaintiff

purchased was listed on the IMLS, which was being operated in part by agents of Defendant who

held positions with local NAR Associations as well as NAR itself and who must adhere to NAR’s

guidelines and policies.

       25.     Defendant, Silvercreek Realty Group LLC, is an Idaho limited liability company

organized under the laws of Idaho with its principal place of business in Meridian, Idaho.

                                JURISDICTION AND VENUE

       26.     The Court has federal question subject matter jurisdiction pursuant to 28 U.S.C. §

1331 because Plaintiff’s claims arise in part under Section 1 of the Sherman Antitrust Act, 15

U.S.C. § 1 and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15, 26.

       27.     This Court also has subject matter jurisdiction over this case and the claims at issue

pursuant to 28 U.S.C. § 1332(d), because this case is a class action in which the matter in

controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs; there are




                                                 8
      Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 9 of 41 PageID #:9




greater than 100 putative class members; on information and belief, at least one putative class

member is a citizen of a state other than Defendant’s state of citizenship; and none of the

exceptions under subsection 1332(d) apply to this action.

        28.     This Court has personal jurisdiction over Defendant, because Defendant has,

through its officers, agents, and employees, committed substantial acts in furtherance of the

unlawful conspiracy among brokerages in this District. NAR, which is the conduit by which the

conspiracy was adopted and enforced, is headquartered in this District. Defendant specifically

implemented, complied with, and enforced the Mandatory Commission Rule through the positions

its agents hold within NAR and various other NAR organizations that operate nationally from

within Illinois. Defendant further participated in and aided NAR in promulgating and codifying

other anti-competitive practices at issue in this matter from within Illinois. Defendant does so

through its agents, officers, and employees, some of whom hold leadership positions within NAR.

        29.     Venue is proper in this District under 28 U.S.C. § 1391 because a substantial

part of the conduct giving rise to Plaintiff’s claims occurred in this District, and a substantial

portion of the affected interstate trade and commerce described herein has been carried out from

within this District.

                                  TRADE AND COMMERCE

        30.     NAR’s anticompetitive rules apply to and have been implemented and enforced by

Defendant and its co-conspirators nationwide. These rules govern the conduct of local NAR

associations, local brokers, and local realtors across the United States. Defendant’s conduct alleged

herein has, among other harms, inflated buyer-agent commissions, including in Idaho and the other

areas in which the NAR MLSs operate. Defendant, through its co-conspirators including NAR, is




                                                 9
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 10 of 41 PageID #:10




engaged in interstate commerce and activities affecting interstate commerce and intrastate

commerce.

                            COMMON FACTUAL ALLEGATIONS

A.       Broker Compensation in Real Estate Transactions is Opaque for Buyers.

         31.   For the vast majority of residential real estate transactions, brokers and agents on

both sides of the transaction are paid commissions based on a percentage of the property’s sale

price.

         32.   State laws control who can represent sellers and buyers in real estate transactions.

There are two types of licenses: (1) for real estate brokers (or brokerage firms such as Defendant);

and (2) for individual agents (such as Defendant’s employees). Only licensed brokers can legally

be paid for representing buyers or sellers in real estate deals, according to state law. So, all real

estate contracts and payments are made to brokers, not agents. Brokers then pay their agents and

are legally responsible for their agents’ actions.

         33.   A typical home sale begins with a homeowner (seller) entering into a contract with

a seller-broker whereby the seller agrees to pay the seller-broker 6% in total commissions for

facilitating the sale of the home. When the seller-broker lists the house on the MLS, they typically

make a unilateral offer of 3% commission to any buyer-agent that can bring a buyer to the table to

complete the sale.

         34.   When the house is purchased, the buyer pays the purchase price into an escrow

account where it is then paid to the seller, less the commissions, which are paid to the seller-broker

and the buyer-broker.

         35.   Because the escrow company distributes the commission, buyers often don’t realize

that they’re sharing the commission cost with the seller. Moreover, during the relevant time period,




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       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 11 of 41 PageID #:11




as part of the conspiracy alleged herein, NAR’s Code of Ethics encouraged buyer-agents to

represent that their services are “free.” 11 In reality, however, buyers pay for these “free” services

through higher purchase prices and elevated commission rates.

B.         Home Buying in America Runs Through NAR and its Conspirators Like Defendant,
           Who Dominate the MLSs.

           36.     According to its website, NAR is the largest trade group in the U.S. 12 It includes

over 1.5 million members in the real estate field including real estate agents, brokers, managers,

and appraisers. Being a NAR member carries benefits like insurance, access to property listings

on preferred MLSs, training, and more.

           37.     NAR promulgates and enforces rules and policies that its members follow in real

estate transactions. On a yearly basis, NAR issues its Handbook on Multiple Listing Policy which

requires, inter alia, that NAR members align their policies with those set by NAR’s board of

directors. Regional brokerages, local NAR associations, and MLSs abide by these rules, and real

estate agents must likewise obey them.

           38.     In 2020, NAR reported that nearly 90% of buyers used a broker to buy a home.

           39.     Both the supply and demand side of the residential real estate market rely on MLSs.

Buyer-agents use MLSs to find real estate listing information. And if a seller’s broker doesn’t list

a property on an MLS, many buyer-agents will not see it or show it to their clients.

           40.     Numerous additional entities, including NAR-affiliated MLSs, real estate

brokerages, and local realtor associations, although not listed as defendants in this case, have

actively engaged with Defendant and NAR as co-conspirators. In particular, each of the local




11
     NAR Code of Ethics 2018, at p. 10 Standard of Practice 12-2.
12
     https://www.nar.realtor/



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       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 12 of 41 PageID #:12




realtor associations responsible for owning and managing NAR MLSs consented to, adhered to,

and executed the “Mandatory Commission Rule.” This rule mandates that a seller-broker must

define a fixed, unilateral commission for the buyer-broker, which is to be disbursed upon the sale

of the property, either as a specific dollar value or as a percentage of the sale price.

          41.     Brokerages such as Silvercreek and NAR MLSs, along with others, have been

active co-conspirators in the offenses detailed herein, executing actions that gave rise to the

antitrust violations. This includes the adoption of the Mandatory Commission Rule within their

respective rules and regulations.

          42.     Defendant specifically implemented, complied with, and enforced the Mandatory

Commission Rule nationally through the positions its brokers hold within NAR and various other

NAR committees and organizations that operate nationally and from within Illinois. Defendant

also aided NAR in promulgating and codifying the other anti-competitive practices discussed

herein from within Illinois. Defendant does so through its brokers, some of whom hold positions

on the Boards of Directors of local and state NAR associations like the BRR,13 and local NAR

MLSs that enforce and enact anti-competitive practices and policies.

          43.     For example, IMLS, the largest MLS in Idaho, has multiple committees involved

in the control and operation of the MLS, including the “New Technology Committee” and the

“Rules and Policies Committee.” In 2016, when Plaintiff purchased her home from a listing on

IMLS, the chairs of the New Technology Committee and the Rules and Policies Committee were

both brokers employed by Defendant.14




13
     https://idahominute.com/blog/2022/01/10/2021-reflection/
14
  https://web.archive.org/web/20160731023639/https://www.imlsmembers.com/
Directories/Committees.aspx.



                                                    12
           Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 13 of 41 PageID #:13




             44.   IMLS’s Rules and Policies Committee’s responsibilities consist of “Review[ing]

IMLS Rules and Policies[, r]ecommending changes, additions, or deletions based on feedback

from the membership and changes in the industry[, and r]eviewing and implement[ing] new rules

and policies handed down from the National Association of REALTORS.”15

             45.   The rules and policies implemented by the IMLS’s Rules and Policies Committee

come from NAR, which is responsible for representing members of NAR and overseeing the

development and modification of policy, including amendments and changes to the Code of Ethics,

as well as the distribution of NAR funds.16

             46.   As a result of their involvement in NAR and the significant volume of transactions

they handle, Defendant and its co-conspirators dominate the buyer-agent services market. The

relevant geographic market is the set of regions in which the MLSs that Defendant participates in

are active. Defendant and its co-conspirators, by controlling the MLSs, can enforce the Mandatory

Commission Rule and other anti-competitive NAR rules upon the Class and Subclass members,

and other market participants. Access to MLSs is vital for brokers to compete and work with

homebuyers in those areas. Defendant, through its co-conspirator franchisees and other affiliates,

provides a significant portion of the residential real estate broker services in the areas in which it

operates.

             47.   Further demonstrating Defendant’s market power, Defendant has grown to become

the largest residential real estate brokerage in Idaho, and has maintained that rank since 2014.



15
     Id.
16
  See, e.g., Schedule A to FEC Form 3X Report of Receipts and Disbursements of National Association
of Realtors Political Action Committee, available at
https://docquery.fec.gov/pdf/848/201701319042138848/201701319042138848.pdf (Last Accessed April
19, 2024).




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       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 14 of 41 PageID #:14




Defendant has also ascended to the 18th largest independent brokerage in the nation. Additionally,

Silvercreek boasted in 2023 that it accounted for 16% of the total market share in the IMLS,

representing more than 2,789 transactions and $1.5 billion in total volume within the IMLS. The

next closest brokerage represented only 1384 transactions and just over $800 million in volume.17

Additionally, Silvercreek achieved a total sales volume of 3.7 billion from within the state of Idaho

alone in 2023, 6.1 billion in 2021, and 4.65 billion in 2020.

          48.     Buyer-brokers operating in regions covered by NAR MLSs would face

overwhelming obstacles if they tried to compete outside of the MLSs. Due to Defendant’s and its

co-conspirators’ dominance over the MLSs, brokers not involved in the conspiracy would have to

create a new listing service to rival the conspirators or try to compete without one. Seller-brokers

not using an MLS would miss out on most potential buyers, while buyer-agents not using an MLS

would miss out on most sellers. Essentially, without access to a listing service, brokers cannot

compete effectively.

          49.     To effectively rival a NAR MLS, any new listing service must offer as extensive a

range of listings. Brokers and their agents, who benefit from high buyer-agent commissions, have

little reason to join a new service that could lead to increased competition and reduced

commissions. Moreover, many buyers would hesitate to hire agents from such a service, especially

since buyer agents on NAR MLSs claimed their services were free to buyers and fully paid by

sellers during most of the relevant time period. Consequently, seller-brokers on alternative services

would find it hard to attract agents and their clients. Also, buyer-agents would be wary of using a

service with fewer property options. Hence, a listing service trying to compete with a NAR MLS




17
     https://idahominute.com/blog/2022/01/10/2021-reflection/ (Last Accessed April 19, 2024).



                                                     14
       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 15 of 41 PageID #:15




would likely struggle to gather enough listings to be profitable and challenge the established MLSs.

The current lack of competitive listing services indicates significant entry barriers.

          50.     To further limit competitive pricing pressure, NAR recommends that MLSs include

non-compete clauses as a vital part of their agreements with third-party listing websites like Zillow

seeking MLS data access. According to NAR’s list of “critical components,” such non-compete

agreements should ensure that the third-party website agrees not to rival brokerage firms like

Defendant or NAR MLSs by either turning into a licensed brokerage or offering cooperation and

compensation deals. NAR also recommends that these agreements should prevent the third-party

website from using the data in ways that mirror the functions of an MLS. Therefore, as part of the

conspiracy, NAR advises MLSs to actively work to stop third-party websites from emerging as

competitors.

C.        Defendant and its Co-Conspirators Have Adhered to NAR’s Anti-competitive Rules,
          Regulations, and Standards of Practice.

          51.     NAR suppresses competition in a number of ways, primarily through requiring

buyer-agents and seller-brokers to conform to NAR’s regulations as a condition of membership.

NAR’s Handbook, Code of Ethics, and Standards of Practice enforce various rules, policies, and

practices on all NAR members, including NAR MLSs and Defendant.

          52.     As NAR’s Code of Ethics specified during the relevant time period: “[a]ny Member

Board which shall neglect or refuse to maintain and enforce the Code of Ethics with respect to the

business activities of its members may, after due notice and opportunity for hearing, be expelled

by the Board of Directors from membership in the National Association.”18




18
     NAR Code of Ethics 2018, at p. 241 Section 2.



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       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 16 of 41 PageID #:16




          53.    Further, NAR’s Handbook on Multiple Listing Policy stipulates that association

and association-owned MLSs must conform their governing documents to the mandatory MLS

policies established by the National Association’s Board of Directors to ensure continued status as

member boards and to ensure coverage under the master professional liability insurance program. 19

          54.    NAR empowers its MLSs to fine, suspend, and revoke the membership of MLS

users that do not comply with NAR regulations. Given the commercial necessity of access to the

NAR MLSs, brokers and agents are compelled to adhere to these mandatory provisions. Without

access to local MLSs, a broker or agent would be incapable of listing or viewing properties for

sale in the centralized database.

          55.    To ensure that its rules are being followed, NAR also conducts examinations of the

governing documents of its local realtor associations to verify their adherence to its rules. Further,

NAR obligates its local realtor associations to prove their compliance with these rules by

periodically submitting their governing documents to NAR for evaluation.

          56.    NAR offers many benefits to its realtor associations and the MLSs they own,

including professional liability insurance. To qualify for this insurance, however, realtor

associations and their MLSs must adhere to the mandatory provisions in the Handbook on Multiple

Listing Policy. NAR withholds these insurance benefits from realtor associations and MLSs that

fail to comply with its mandatory provisions. Indeed, NAR’s Handbook currently reads: “[t]hose

associations or multiple listing services found by the National Association to be operating under

bylaws or rules and regulations not approved by the National Association are not entitled to errors

and omissions insurance coverage and their charters are subject to review and revocation.” 20


19
     NAR MLS Handbook 2018 at p. 161; NAR MLS Handbook 2023, at p. 169.
20
     NAR MLS Handbook 2023, at p. 8 Policy Statement 7.17



                                                 16
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 17 of 41 PageID #:17




       57.     During the relevant time period, NAR’s rules and policies have included numerous

collusive and anti-competitive requirements such as: (i) the Mandatory Commission Rule; (ii) rules

preventing the disclosure to buyers of the total broker commissions in a home sale (“Commission

Concealment Rules”); (iii) policies limiting the ability of sellers and seller-brokers to change the

commissions offered to buyer-agents after a purchase offer is made (“Non-Modification Rules”);

(iv) policies that allow and encourage buyer-agents to inform homebuyers that their services come

at no cost (“Free-Service Rule”); (v) guidelines enabling buyer-agents to filter MLS listings based

on commission levels (“MLS Manipulation Practices”); and (vi) a policy restricting access to key-

holding lockboxes to NAR members only (“Lockbox Policy”). 21

       58.     NAR and its affiliates maintain a defined arrangement: Members can join the MLS

and receive benefits from NAR and NAR MLSs, but only if they commit to follow and implement

the anti-competitive restraints outlined in NAR’s rules, practices, and policies. As a result, the

implementation and enforcement of these guidelines by NAR and NAR MLSs constitute

coordinated actions among parallel competitors, forming agreements among (should-be) rival real

estate brokers. These agreements diminish price competition among brokers, resulting in increased

costs and lesser service quality for American homebuyers.

       59.     Defendant has played a pivotal role in the conspiracy described above by, among

other things: placing its brokers in leadership positions within NAR and local NAR associations;

mandating that its employees, franchisees, and the agents working under them adhere to NAR

rules, including the anti-competitive rules listed above; and exerting influence over local realtor



21
   Numerous of these anti-competitive rules were implicated in the DOJ’s investigation of NAR.
https://www.justice.gov/opa/press-
release/file/1338606/download#:~:text=NAR's%20Commission%2DConcealment%20Rules%20recomm
end,commission%20offered%20to%20buyer%20brokers.



                                                17
       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 18 of 41 PageID #:18




associations by, for instance, requiring adoption of NAR’s rules, such as the Mandatory

Commission Rule.

          60.    Defendant’s rules and policies require its franchisees and agents to (1) adhere to

NAR’s Code of Ethics; (2) become members of and follow local realtor association rules; and (3)

participate in and comply with the rules of the local MLS, which include the mandatory provisions

of NAR’s Handbook on Multiple Listing Policy.

D.        The Mandatory Commission Rule, Commission Concealment Rule, and Anti-
          Modification Rule Unreasonably Restrained Trade.

          61.    During the relevant time period, the Mandatory Commission Rule read: “In filing

a property with the multiple listing service of an association of REALTORS®, the participant of

the service is making blanket unilateral offers of compensation to the other MLS participants, and

shall therefore specify on each listing filed with the service, the compensation being offered to the

other MLS participants.”22

          62.    The Mandatory Commission Rule has further stated throughout the relevant time

period that: “multiple listing services shall not publish listings that do not include an offer of

compensation expressed as a percentage of the gross selling price or as a definite dollar amount,

nor shall they include general invitations by listing brokers to other participants to discuss terms

and conditions of possible cooperative relationships.”23

          63.    This practice was widely, if not universally, adopted. Indeed, nearly every MLS in

the U.S. required listing brokers to extend a blanket offer of compensation to buyer-agents during

the relevant time period.




22
     NAR MLS Handbook 2018, at p. 65 Section 5; NAR MLS Handbook 2023, at p. 69 Section 5.
23
     NAR MLS Handbook 2018, at p. 35 Section 5; NAR MLS Handbook 2023, at p. 40 Section 5.



                                                 18
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 19 of 41 PageID #:19




        64.    The Mandatory Commission Rule prevented buyer-agents from competing on

terms such as price and service quality. Therefore, the Mandatory Commission Rule curtailed

competition in the market for buyer-agent services, adversely affecting homebuyers in various

ways.

        65.    Moreover, because NAR and its members provided blanket, unilateral,

unconditional commissions, brokers had little incentive to compete in terms of service quality to

earn higher commissions. For instance, new brokers who had only recently obtained their licenses

could charge the same rates as seasoned, highly skilled brokers. Similarly, when broker

commissions are based on a percentage of the gross selling price, a buyer-agent assisting in an

$800,000 home purchase could earn potentially double compared to one assisting in a $400,000

home purchase, irrespective of whether the higher compensation matches the level and nature of

services rendered.

        66.    This practice has drawn the ire of consumer watchdog organizations. Indeed, the

Consumer Federation has called brokers “a price-setting cartel.” As the Federation explained, “[i]n

a rational pricing system, home sellers and buyers would each pay for real estate brokerage services

they receive.”24 But, “[i]f sellers and buyers each separately negotiated compensation with their

brokers, uniform [] commissions would quickly disappear.” 25

        67.    The Mandatory Commission Rule lacks any pro-competitive rationale. Before the

early 1990s, all brokers either represented sellers or were subagents of those representing sellers.


24
  Testimony of Stephen Brobeck, Residential Real Estate Brokerage Services: a Cockamamie System that
Restricts Competition and Consumer Choice, CONSUMER FED’N OF AM., at 3-4 (July 25, 2006),
available at https://consumerfed.org/wp-content/uploads/2006/07/7-25-06-Residential-Real-Estate-
Brokerage_Testimony.pdf.
25
   Stephen Brobeck and Patrick Woodall, How the Real Estate Cartel Harms Consumers and How
Consumers Can Protect Themselves, CONSUMER FED’N OF AM., at 4 (June 2006), available at
https://consumerfed.org/pdfs/Real_Estate_Cartel_Study061906.pdf.



                                                19
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 20 of 41 PageID #:20




Under this almost universal sub agency system brokers, even those working solely with buyers,

were legally obligated to represent the interests of sellers. Because nearly all brokers involved in

transactions represented the seller either as the seller’s agent or as the subagent of the listing (i.e.,

seller’s) broker, the seller’s broker, who received payment from the seller, would then remunerate

the subagent assisting the buyer.

        68.     But with the advent of brokers representing buyers directly, payment of buyer-

agents’ commissions from the total commission is no longer justified. Real estate industry insiders

have conceded that the practice of seller-brokers dictating the fees that buyer-agents charge to their

own clients should be recognized as potentially fixing market prices. There is no pro-competitive

justification for allowing seller-brokers to determine the default commissions charged by

competing buyer-agents to their clients. Rather, removing inter-broker compensation would reduce

brokers’ ability to impede price competition, likely resulting in a significant decrease in broker

commissions.

        69.     The reason for the Mandatory Commission Rule is clear: to maintain high broker

commissions for NAR members at the expense of homebuyers. In the absence of the Rule, buyers

rather than sellers would negotiate buyer-agent commissions, and brokers would compete with one

another by offering lower commission rates and/or higher quality services.

        70.     The Commission Concealment Rules protected the Mandatory Commission Rule

and exacerbated its anti-competitive effects. These rules bared disclosure of the offered buyer-

agent commission to potential buyers.

        71.     The Commission Concealment Rules were laid out in several places in NAR’s

Handbook during the relevant time period, including Policy Statement 7.23, which states: “the

multiple listing service shall not publish the total negotiated commission on a listing which has




                                                   20
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 21 of 41 PageID #:21




been submitted to the MLS by a participant. The multiple listing service shall not disclose in any

way the total commission negotiated between the seller and the listing broker.”26

       72.     Hence, while buyer-agents were aware of the commission they’d receive if their

client bought a property, NAR MLSs kept this fee hidden from the homebuyers who ultimately

paid the commission through the property’s purchase price.

       73.     At the same time, NAR rules required brokers to share pricing information among

themselves. This kind of unilateral information sharing agreement is collusive and further

diminished the incentive for buyer-agents to compete on pricing, whether by offering rebates or

accepting reduced commissions. It also promoted and facilitated the setting of consistently high

commission rates by brokers, leading to increased costs for buyer-agent services. Moreover,

because buyers were unable to view commission offers, they were unable to identify when they

were being steered towards a property with a high commission. As explained below, this type of

steering led to higher prices and diminished the quality of services provided by buyer-agents to

homebuyers.

       74.     During the relevant time period, NAR’s ethical rules explicitly forbade buyer-

agents from attempting to decrease the buyer-agent commissions listed on MLSs when submitting

purchase offers (“Non-Modification Rules”). Therefore, even if a homebuyer were able to access

sufficient information to negotiate a reduced buyer-agent commission, NAR’s rules wouldn’t have

allowed such negotiations. Although NAR has frequently claimed in litigation that brokers could

purportedly negotiate their fees at any point in the transaction, NAR’s Standard of Practice 16-16

stated during the relevant time period that:

          REALTORS®, acting as subagents or buyer/tenant representatives or brokers,

26
  NAR MLS Handbook 2018, at p. 34 Section 1 Policy Statement 7.23; NAR MLS Handbook 2023, at p.
40 Section 1 Policy Statement 7.23



                                               21
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 22 of 41 PageID #:22




          shall not use the terms of an offer to purchase/lease to attempt to modify the
          listing broker’s offer of compensation to subagents or buyer/tenant
          representatives or brokers nor make the submission of an executed offer to
          purchase/lease contingent on the listing broker’s agreement to modify the offer
          of compensation.27

       75.      In other words, a buyer-agent could not even present an offer to a seller that was

conditional on the seller reducing the buyer-agent commission without violating the NAR’s ethics

rules. This did nothing but unreasonably restrain homebuyers to the benefit of NAR members such

as Defendant.

       76.      If buyer-agents did try to alter buyer-agent commissions, NAR advised them to

initiate these modifications before they even showed the property to prospective buyers. By

obliging buyer-agents who are open to reducing their commissions to seek these reductions before

showing the property to a potential buyer, NAR effectively shut down most negotiation over the

buyer-agent commission. To adhere to this, a buyer-agent would have to independently approach

a seller-broker to negotiate a cut in their own commission, even before their client has viewed the

potential home. In practice, this was unlikely to occur because it would require buyer-agents to

proactively approach seller-brokers and negotiate commissions where no buyer has yet been

identified. As NAR knew, this would be seen by most individuals as a speculative waste of time.

       77.      NAR’s rules also limited the negotiation of the buyer-agent commission by

stipulating that once the seller had received purchase offers, the seller-broker was not allowed to

unilaterally alter the buyer-agent commission originally offered on the MLS. This was outlined

during the relevant time period in NAR Standard of Practice 3-2, which stated:

          Any change in compensation offered for cooperative services must be
          communicated to the other REALTOR® prior to the time that REALTOR®

27
  NAR Code of Ethics 2018, at Standard of Practice 16-16; NAR Code of Ethics 2023, at Standard of
Practice 16-16.




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     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 23 of 41 PageID #:23




           submits an offer to purchase/lease the property. After a REALTOR® has
           submitted an offer to purchase or lease property, the listing broker may not
           attempt to unilaterally modify the offered compensation with respect to that
           cooperative transaction.28

        78.     Consistent with NAR’s rule, the IMLS’s Rules and Regulations, for example, stated

during the relevant time period that “MLS Participants, acting a subagents or buyer/tenant

representatives or brokers, shall not use the terms of an offer to purchase/lease to attempt to modify

the listing broker’s offer of compensation to subagents or buyer’s representatives or brokers, or

make the submission of an executed offer to purchase/lease contingent on the listing broker’s

agreement to modify the offer of compensation. . . . .”29

        79.     NAR further restricted negotiation by deeming it unethical for a buyer-agent to

suggest that the buyer directly negotiate with the seller to lower commissions. Given that most

homebuyers have little to no understanding of the market for real estate broker services and are

under the impression that the buyer-agent’s services are “free,” this limitation additionally curbed

negotiations concerning buyer-agent commissions.

E.      The Free-Service Rule and MLS Manipulation Practices Allowed Defendant and its
        Co-Conspirators to Dominate the Homebuying Process and Improperly Steer
        Homebuyers to Higher-Commission Properties.

        80.     During the relevant time period, Defendant and its brokers also adopted NAR’s

Free-Service Rule, which encouraged buyer-agents to mislead buyers into thinking that the buyer-

agent’s services are free when actually they are not.

        81.     During the relevant time period and until January 2021, NAR Ethics Standard 12-




28
  NAR Code of Ethics 2018, at Standard of Practice 3-2; NAR Code of Ethics 2023, at Standard of Practice
3-2.
29
  Intermountain Multiple Listing Service, Inc. Rules and Regulations § 16.18., available at
https://pdf4pro.com/cdn/intermountain-multiple-listing-service-inc-rules-443a3e.pdf



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       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 24 of 41 PageID #:24




2 stated “REALTORS® may represent their services as ‘free’ or without cost even if they expect

to receive compensation from a source other than their client provided that the potential for the

REALTOR to obtain a benefit from a third party is clearly disclosed at the same time.” Because

buyer-agents governed by NAR were technically paid out of funds paid to the seller-broker, those

buyer-agents could misleadingly tell their buyer clients that their services are “free.” As a result,

homebuyers were led to think they were paying nothing for buyer-agent services, when in reality

the buyer-agent’s commissions were incorporated into the purchase price of the home.

          82.     Because buyers were led to believe that they were not paying for brokerage

services, they were not inclined to negotiate for a lower buyer-agent commission or seek out or

discover appealing rebate offers or other discounts from buyer-agents. As such, NAR’s Free-

Service Rule contributed to elevated costs for services rendered by buyer-agents.

          83.     NAR’s MLS Manipulation Practices were yet another set of rules that hindered

competition and contributed to elevated commissions.

          84.     During the relevant time period, NAR’s MLS Manipulation Practices enabled

buyer-agents to curate MLS listings according to the amount of buyer-agent commissions being

offered. Additionally, some MLSs even allowed buyer-agents to exclude homes from potential

homebuyers when they offer lower commissions, despite meeting the buyer’s search requirements.

          85.     For instance, during the relevant time period, Policy Statement 7.58 in NAR's

Handbook read: “Participants may select the IDX listings they choose to display based only on

objective criteria including . . . cooperative compensation offered by listing brokers.”30

          86.     The MLS Manipulation Practices, adopted by Defendant and NAR MLSs during

the relevant time period, aided in steering by enabling buyer-agents to selectively hide from


30
     NAR MLS Handbook 2018, at p. 23 Policy Statement 7.58; P. 81 Section 18.2.4.



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       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 25 of 41 PageID #:25




potential homebuyers those property listings that offered lower buyer-agent commissions. This

practice, which has since been repealed,31 diminished the quality of services provided by buyer-

agents and increases the cost of these services for homebuyers.

F.        The Lockbox Policy Shut Out Competitors.

          87.     Further reducing competition for buyer-agent services, NAR and its member

brokers have also restricted physical access to listed properties through the use of lockboxes that

were available only to real estate brokers who are part of a NAR MLS. These brokers, with the

consent of the sellers, stored keys to the homes listed for sale in lockboxes, enabling them to grant

potential buyers access to the properties while ensuring their security. Access to these lockboxes

was controlled by real estate brokers using either a numerical code or a digital Bluetooth ‘key’

which was not provided to non-members of NAR.

          88.     NAR and NAR MLSs implemented a set of rules (outlined in the NAR Handbook,

Policy Statement 7.31) that limited lockbox access solely to real estate brokers who were members

of NAR and subscribe to the NAR MLS.32 Brokers not affiliated with NAR were denied access to

these lockboxes, preventing them from showing their clients homes listed for sale, which in turn

diminished competition in the realm of buyer-broker services.

G.        The Conspiracy Harmed Homebuyers.

          89.     The rules and practices discussed above have collectively functioned to sustain

elevated commission rates and deteriorate the quality of services that homebuyers received from

buyer-brokers during the relevant time period. These regulations led to increased buyer-broker




31
     NAR MLS Handbook 2023, at p. 23 Policy Statement 7.58; P. 87 Section 18.2.4.
32
  NAR MLS Handbook 2018, at p. 36 Policy Statement 7.31; NAR MLS Handbook 2023, at p. 41 Policy
Statement 7.31.



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    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 26 of 41 PageID #:26




commissions despite technological advancements and other changes that should have noticeably

decreased commissions. Additionally, they considerably hindered the capacity of more cost-

effective alternatives to foster a more competitive market.

       90.     There is no pro-competitive benefit to the conspiracy. Defendant and its co-

conspirators have effectively maintained and significantly raised the financial costs of buyer-

broker commissions, despite the diminishing role of such buyer-brokers due to the emergence of

third-party listing websites. NAR data indicates that many homebuyers now prefer to search for

prospective homes independently through online services, rather than with a broker’s help, and

buyer-brokers are increasingly engaged only after their client has identified the desired home. Yet,

despite the reduced involvement of buyer-brokers, buyer-agents have still received the same

artificially high commission due to the conspiracy among Defendant and other brokers.

       91.     The conspiracy between Defendant and other brokers has had many anti-

competitive effects, including that:

               a. Homebuyers have incurred elevated buyer-broker commissions and total
                  commissions, which are integrated into the purchase price of their homes;

               b. Seller-brokers are disinclined to offer commissions below market rate for fear
                  that the seller’s house will not be shown;

               c. The engagement of a buyer-broker has become disconnected from the
                  determination of the broker’s commission; while the homebuyer hires the
                  buyer-broker, the home seller determines the buyer-broker’s compensation;

               d. There has been a suppression of price competition among brokers for retention
                  by homebuyers;

               e. Homebuyers’ competitive ability has been hindered due to their inability to
                  compete for home purchases by reducing the buyer-broker commission;

               f. The quality of services provided by buyer-brokers has declined, as they are
                  motivated to direct their clients towards homes offering higher commissions;

               g. The quality of buyer-broker services has further deteriorated due to obstacles



                                                26
    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 27 of 41 PageID #:27




                     that impede buyer-brokers from presenting and receiving purchase offers that
                     lower the buyer-broker commission, thereby making these offers more
                     appealing and acceptable to sellers; and

               h. Brokers have significantly increased their profits by obtaining inflated buyer-
                  broker commissions and total commissions.

       92.     Defendant and its co-conspirators have not only maintained but, in terms of

inflation-adjusted dollars, significantly increased the fees charged by buyer-brokers, a situation

that markedly contrasts with trends in other industries. In almost every consumer sector —

including bookselling, retail, home appliances, insurance, banking, and stock brokering — the

emergence of technology and the proliferation of internet and discount sellers has tremendously

benefited customers financially. Economists refer to this reduction of transaction costs as

“disintermediation.” The real estate brokerage market, worth approximately $70 billion annually,

is particularly suited for such a transformation. Yet, despite the technological advancements that

have diminished the role of brokers and the considerable fluctuations in housing market prices,

brokerage fees have not adapted to these changes. This resilience, or “stickiness” in commissions

is attributable to the collusive conspiracy alleged herein.

       93.     There is also a notable discrepancy between buyer-broker costs and the

commissions they earn. In a competitive market, pressure from and among competitors forces

prices toward the marginal cost of goods (or services) sold. However, this pattern is not evident in

real estate brokerage fees. For instance, the costs incurred by buyer-brokers are generally

consistent, and have trended downward with technology, irrespective of the home's price. As noted

by the Wall Street Journal, “many, if not most, of the services that Realtors provide don’t vary

with the sales price, so the percentage fee should fall as home price rises.” Contrary to this

expectation, broker commissions remain disconnected from the amount, quality, and value of the

services provided.



                                                 27
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 28 of 41 PageID #:28




       94.     Even if there were any plausible pro-competitive effects of Defendant’s and its co-

conspirators’ conspiracy, those effects would be substantially outweighed by the conspiracy’s anti-

competitive effects.

       95.     There is considerable economic evidence that Defendant’s and its co-conspirators’

conspiracy has inflated buyer-broker commissions and total commissions to well above a

competitive level nationwide.

       96.     The conspiracy among Defendant and its co-conspirators has consistently kept

broker commission rates at exceptionally stable and elevated levels over the past two decades. This

trend persists despite the emergence of the internet and the reduced role of buyer-brokers. From

2000 to 2017, the average national commission rate remained consistently high, between 5% and

5.4%, irrespective of varying market conditions.

       97.     Housing prices in many areas have risen significantly recently, surpassing the rate

of inflation. Given that commissions are calculated as a percentage of a home’s sale price, the real

dollar value of commissions has substantially increased alongside the price of homes. “For

example, between 2001 and 2017, the average price of new homes in current dollars sold rose from

$213,200 to $384,900, according to U.S. Census Bureau Statistics.” 33

       98.     As the Consumer Federation of America points out: “[b]ecause the industry

functions as a cartel, it is able to overcharge consumers tens of billions of dollars a year. . . .

Consumers are increasingly wondering why they are often charged more to sell a home than to




33
  Comments of Stephen Brobeck, Executive Director Consumer Federation of America Before the
Department of Justice-Federal Trade Commission Public Workshop on Competition Issues, CFA, 2 n.4
(June 5,     2018),    https://consumerfed.org/wp-content/uploads/2018/06/CFA-comments-DOJ-FTC-
publicworkshop-on-competition-issues.pdf.




                                                28
        Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 29 of 41 PageID #:29




purchase a new car.”34

           99.    The typical total broker commissions (i.e., the combined commission for the seller-

broker and buyer-broker) in regions with NAR MLSs range from 5% to 6%, markedly higher than

in countries with competitive residential real estate brokerage markets. In their 2002 study

“International Residential Real Estate Brokerage Fees and Implications for the US Brokerage

Industry,” economists Natalya Delcoure and Norm Miller observed: “Globally, we see much lower

residential commission rates in most of the other highly industrialized nations, including the

United Kingdom (UK), Hong Kong, Ireland, Singapore, Australia, and New Zealand. . . . In the

UK, the [total] commission rates average less than 2%. . . . In New Zealand and South Africa,

[total] commission rates average 3.14%. In Singapore, the [total] commission rates also tend to

run around 3%.”35

           100.   Delcoure and Miller also noted variations within countries. For instance, in the

United Kingdom, Delcoure and Miller found that “1%-2% is typical; in very competitive areas

0.5- 0.75%; in low priced areas [for homes] as high as 3.5%.”36 Ultimately, they concluded that,

“[b]ased on global data . . . [total] US residential brokerage fees should equal something closer to

3.0%.”37 That is approximately half of what such fees are now.

           101.   Indeed, economists Chang-Tai Hsieh and Enrico Moretti have proposed that




34
  Glen Justice, Lobbying to Sell Your House, N.Y. TIMES (Jan. 12, 2006), https://www.nytimes.
com/2006/01/12/business/lobbying-to-sell-your-house.html.
35
  Natalya Delcoure & Norm G. Miller, International Residential Real Estate Brokerage Fees and
Implications for the US Brokerage Industry, 5 INTL. REAL ESTATE REV. 12, 14 (2002).
36
     Id. at 17.
37
     Id. at 29.




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       Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 30 of 41 PageID #:30




competition could potentially eliminate over half of the current commission rates. 38

          102.    The conspiracy to restrict price competition for commissions has had a significant

negative economic impact. The Consumer Federation of America noted, “[i]f sellers and buyers

each separately negotiated compensation with their brokers, uniform 5-6% commissions would

quickly disappear.”39 This suggests that the current uniform commission rates are maintained by

the lack of individual negotiation and competition.

          103.    The extent and significance of the overcharges at issue in this case have resulted in

a tremendous economic burden for the putative class members and other consumers. Experts have

estimated that consumers could save approximately $30 billion or more each year if there were

price competition among brokers. 40

H.        Due to Defendant’s Concealment of the Conspiracy and Plaintiff’s Reasonable Lack
          of Knowledge Thereof, the Statute of Limitations has Been Tolled.

          104.    In the years leading up to the filing of this Complaint, Defendant continuously

engaged in anti-competitive behavior. This includes the implementation and enforcement of the

Mandatory Commission Rule and other anti-competitive NAR rules.

          105.    As a result of its conspiracy, Defendant has consistently charged and collected

excessive buyer-broker commissions and total commissions. These were paid by Plaintiff and the

other Class and Subclass members in connection with their purchase of residential real estate.

Every instance of paying these inflated commissions by Plaintiff and the Class and Subclass

members during the class period resulted in harm to them and created a new cause of action.


 See Chang-Tai Hsieh & Enrico Moretti, Can Free Entry be Inefficient? Fixed Commissions and Social
38

Waste in the Real Estate Industry, 111 J. POL. ECON. 1076, 1116 (2003).
39
     Brobeck & Woodall, Supra n.6.
40
  Mark S. Nadel, A Critical Assessment of the Traditional Residential Real Estate Broker Commission Rate
Structure (Abridged), 5 CORNELL REAL ESTATE REV. 26, 26 n.1 (2007).



                                                   30
    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 31 of 41 PageID #:31




Plaintiff and the other Class and Subclass members had no knowledge of Defendant’s unlawful

conspiracy and could not have discovered it by the exercise of due diligence until, at the earliest,

November 19, 2020, the date the DOJ announced the settlement of its antitrust claims against

NAR.

       106.    It was reasonable for Plaintiff and the Class and Subclass Members not to suspect

Defendant of engaging in illegal anti-competitive conduct. Plaintiff and the members of the Class

and Subclass, as typical homebuyers, lack extensive knowledge or insights about the real estate

industry and are not familiar with NAR’s operations. Further, as explained above, NAR’s policies,

rules, and practices explicitly forbade revealing the total broker commissions to homebuyers and

encourage buyer-brokers to convey to their clients that they were receiving the brokers’ services

at no cost. Consequently, the average homebuyer was not made aware that they were incurring

costs for buyer-broker services, much less that Defendant was conspiring to uphold excessively

high broker commissions.

       107.    For these reasons, the statutes of limitation applicable to Plaintiff’s and the other

Class and Subclass members’ claims have been tolled with respect to the claims asserted herein.

       108.    Additionally or alternatively, the application of the doctrine of fraudulent

concealment tolled the statutes of limitation on Plaintiff’s and the Class and Subclass members’

claims until at least November 19, 2020.

       109.    Defendant actively concealed the conspiracy by, for example, prohibiting the

disclosure of total commissions to homebuyers and encouraging brokers to represent to

homebuyers that their services are free of charge.

       110.    Moreover, Defendant's anti-competitive behavior was intrinsically self-concealing

given NAR’s strict control over its MLSs, agents, and brokers. A reasonable buyer, under the




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    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 32 of 41 PageID #:32




circumstances, would not have had grounds to suspect exposure to anti-competitive actions. The

policy that prevented NAR MLSs from disclosing to prospective buyers the commission a buyer-

broker will receive for a home purchase on the MLS naturally hid the conspiracy’s existence.

Similarly, practices that allowed buyer-agents to falsely claim their services were complimentary

to buyers, and actions by Defendant to filter MLS listings based on buyer-broker commission

levels and exclude homes offering lower commissions, were also inherently self-concealing.

                                   CLASS ALLEGATIONS

       111.    Plaintiff brings this action on her own behalf on behalf of similarly situated

individuals under Fed. R. Civ. P. 23 seeking relief on behalf of a nationwide class (the “Class”)

and an Idaho subclass (the “Subclass”) defined as follows:

       Nationwide Class: All persons who, from November 19, 2008 through the present,
       purchased in the United States residential real estate listed on a NAR MLS in a transaction
       with a buyer-agent and/or seller-agent employed by or otherwise affiliated with Defendant
       or any of its franchisees, subsidiaries, agencies, or otherwise affiliated entities.

       Idaho Subclass: All persons who, from November 19, 2008 through the present, purchased
       in the state of Idaho residential real estate listed on a NAR MLS with a buyer-agent and/or
       seller-agent employed by or otherwise affiliated with Defendant or any of its franchisees,
       subsidiaries, agencies, or otherwise affiliated entities.

       112.    Expressly excluded from the Class and Subclass are any members of the judiciary

assigned to preside over this matter and their staff; Plaintiff’s counsel and Defendant’s counsel;

any officer, director, or employee of Defendant and its affiliates; and any immediate family

members of such officers, directors, or employees.

       113.    On information and belief, there are at least tens of thousands of members of the

Class and Subclass, making the members of the Class and Subclass so numerous that joinder of all

members is impracticable. Although the exact number of Class and Subclass members is unknown

to Plaintiff, the members can easily be ascertained through Defendant’s records.




                                               32
    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 33 of 41 PageID #:33




       114.    Plaintiff will fairly and adequately represent and protect the interests of the other

members of the Class. Plaintiff has retained counsel with substantial experience in prosecuting

complex litigation and class actions. Plaintiff and her counsel are committed to vigorously

prosecuting this action on behalf of the other members of the Class and Subclass, and have the

financial resources to do so. Neither Plaintiff nor her counsel have any interest adverse to those of

the other members of the Class and Subclass.

       115.    Plaintiff’s claims are typical of the claims of the other members of the Class and

Subclass, in that the factual and legal bases of Defendant’s liability to Plaintiff and to the other

members of the Class and Subclass are the same. Plaintiff and the other members of the Class and

Subclass have all suffered similar harms and damages as a result of Defendant’s collection of

unlawfully excessive commissions.

       116.    There are many questions of law and fact common to the claims of Plaintiff and the

other members of the Class, and those questions predominate over any questions that may affect

individual members of the Class. Common questions for the Class include, but are not limited to:

               a. Whether Defendant conspired with its co-conspirators as alleged herein;

               b. Whether the conspiracy harmed competition as alleged herein;

               c. Whether homebuyers were harmed as a result of Defendant’s anti-competitive
                  conduct as alleged herein;

               d. Whether buyer-agent commissions were inflated as a result of the conspiracy;

               e. Whether the quality of buyer-agent services was diminished as a result of the
                  conspiracy;

               f. Whether the competitive harm from the conspiracy substantially outweighs any
                  competitive benefits;

               g. Whether Defendant committed deceptive acts under the ICPA by representing
                  to the members of the Subclass that buyer-agent fees were free, paid by the
                  seller, or otherwise not ultimately paid by the buyer;



                                                 33
    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 34 of 41 PageID #:34




               h. Whether Defendant should be enjoined from engaging in such conduct in the
                  future;

               i.   The appropriate class-wide measures of damages; and

               j.   Whether Defendant should be ordered to disgorge all unlawful fees collected
                    by it or on its behalf during the applicable limitations period.

       117.    This class action is appropriate for certification because class proceedings are

superior to other available methods for the fair and efficient adjudication of this controversy and

joinder of all members of the Class and Subclass is impracticable. This proposed class action

presents fewer management difficulties than individual litigation and provides the benefits of

single adjudication, economies of scale, and comprehensive supervision by a single court. Class

treatment will create economies of time, effort, and expense and promote uniform decision

making.

       118.    Absent a class action, most members of the Class and Subclass would find the cost

of litigating their claims to be prohibitive and would have no effective remedy. Unless the Class

and Subclass are certified, Defendant will retain the monies it received from the members of the

Class and Subclass as a result of its unfair and deceptive conduct.

                                            COUNT I
                    Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1
                            (On Behalf of the Plaintiff and the Class)

       119.    Plaintiff realleges and incorporates by reference each of the foregoing allegations

as though stated herein.

       120.    Beginning in at least 2008, Defendant engaged in a continuing contract,

combination, or conspiracy to unreasonably restrain interstate trade and commerce in violation of

Section 1 of the Sherman Act, 15 U.S.C § 1.

       121.    The misrepresentation as to the payment of brokerage commissions and the



                                                34
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 35 of 41 PageID #:35




increased price of houses sold is an actual and proximate cause of harm to homebuyers. The

contract, combination, or conspiracy alleged herein has consisted of continuing agreements among

Defendant and its co-conspirators to set, raise, and maintain the level of broker commissions.

        122.    In furtherance of the contract, combination, or conspiracy, Defendant and its co-

conspirators have committed one or more of the following overt acts:

                a. participated in the establishment, maintenance, and implementation of the
                   Mandatory Commission Rule and other anti-competitive NAR rules;

                b. participated in the establishment, maintenance, and implementation of rules by
                   NAR associations and MLSs that implemented the Mandatory Commission
                   Rule and other anti-competitive NAR rules; and

                c. used their control over the NAR MLSs to force affiliated brokers, members,
                   and franchisees to implement and adhere to the Mandatory Commission Rule
                   and other anti-competitive NAR rules in the areas in which the NAR MLSs
                   operate.

        123.    Defendant’s conspiracy has caused buyer-agents to conceal total commissions, to

misrepresent to buyers that buyer-agents’ services are free, to steer homebuyers towards high

commission listings, and to diminish the value of buyer-agent services by restraining competition

on buyer-agent commission fees in the home buying process. Defendant’s conspiracy has also had

the effect of excluding non-NAR-affiliated brokers from competing in the market for buyer-agent

services by restricting access to lockboxes, which is required in order for buyer-agents to show

houses for sale to their clients.

        124.    Defendant’s conspiracy has also reduced competition among buyer-agents, thereby

requiring buyers to pay inflated prices for their homes and inflated buyer-agent commissions.

Reduced price competition among buyer-agents has also reduced the quality of broker services

provided to homebuyers. This harm to competition substantially outweighs any competitive

benefits arising from the conspiracy.




                                                35
    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 36 of 41 PageID #:36




       125.    Plaintiff and the other Class Members paid inflated home purchase prices and

broker commissions throughout the class period in connection with the purchase of residential real

estate listed on the NAR MLSs. Absent Defendant’s conspiracy, Plaintiff and the other class

members would have paid lower prices for their homes and lower commissions.

       126.    Plaintiff and the other Class Members also received diminished services from

buyer-agents as a result of the conspiracy. Absent this conspiracy, Plaintiff would have received

improved services in negotiating and reducing the purchase prices of their homes.

       127.    As a direct and proximate result of Defendant’s past and continuing violations,

Plaintiff and Class Members have been injured in their business and property.

       128.    Plaintiff and the members of the Class are entitled to an injunction against

Defendant, preventing and restraining the violations alleged herein, and to damages as permitted

by law for the injuries they suffered as a result of Defendant’s anti-competitive conduct.

       129.    Accordingly, with respect to Count I, Plaintiff, individually and on behalf of the

proposed Class, prays for the relief set forth below.

                                          COUNT II
     Violation of the Idaho Competition Act (“ICA”), Idaho Code Ann. § 48-101 et seq.
                       (On Behalf of Plaintiff and the Idaho Subclass)

       130.    Plaintiff realleges and incorporates by reference each of the foregoing allegations

as though stated herein.

       131.    Beginning at least in 2008, Defendant engaged in a continuing contract,

combination, or conspiracy with respect to residential real estate broker services provided in Idaho

for the purpose and with the effect of fixing, controlling, or maintaining the commissions paid to

Defendant’s buyer-agents. Defendant’s conduct constitutes an unlawful contract, combination, or

conspiracy in unreasonable restraint of trade in or substantially affecting commerce in Idaho under




                                                 36
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 37 of 41 PageID #:37




Idaho Code Ann. § 48-104.

        132.    Defendant’s agreement to uphold NAR rules, policies, and procedures related to

buyer-agent compensation is per se unlawful under Section 104 of the ICA because Defendant and

its co-conspirators agreed to fix the commissions to be paid to buyer-agents. Defendant’s

commission-fixing conspiracy was not reasonably necessary to any separate, legitimate business

purpose, transaction, or collaboration.

        133.    Defendant’s acts and combinations in furtherance of the conspiracy have caused

unreasonable restraints in the market for buyer-agent services within Idaho.

        134.    As a result of Defendant’s unlawful conduct, Plaintiff and other members of the

Subclass have been harmed by paying inflated prices for their homes and inflated buyer-agent

commissions and by receiving lower quality or fewer services.

        135.    By engaging in the aforementioned conduct, Defendant violated the ICA. Idaho

Code Ann. §§ 48-104.

        136.    Plaintiff and the other Idaho Subclass members seek damages as permitted by law

for the injuries they suffered as a result of Defendant’s unlawful, anti-competitive conduct. Id. §

48-113.

        137.    Accordingly, with respect to Count II, Plaintiff, individually and on behalf of the

proposed Subclass, prays for the relief set forth below.

                                          COUNT III
                   Violation of the Idaho Consumer Protection Act (“ICPA”)
                                 Idaho Code Ann. § 48-601 et seq.
                         (On Behalf of Plaintiff and the Idaho Subclass)

        138.    Plaintiff realleges and incorporates by reference each of the foregoing allegations

as if fully set forth herein.

        139.    The ICPA is a remedial statute that prohibits a wide range of “unfair or deceptive



                                                37
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 38 of 41 PageID #:38




acts or practices in the conduct of any trade or commerce,” including “any act or practice that is

otherwise misleading, false, or deceptive to the consumer[.]” Idaho Code Ann. § 48-603(17).

        140.    Defendant is “person” engaged in “trade” and “commerce” within the meaning of

Section 602 of the ICPA, § 48-602(1), (2), because Defendant is a corporation that provides

residential real estate broker services to or from locations within Idaho that directly affect

consumers in Idaho.

        141.    Defendant’s misrepresentations with respect to the costs, characteristics, and

benefits of its buyer-agents’ services constitute deceptive practices in violation of Section 603 of

the ICPA. As explained above, Defendant misrepresented to Plaintiff and the other Subclass

members that:

                a. Its buyer-agents’ services are provided free of charge to buyers;

                b. Buyer-brokers’ commissions are paid by the seller; and

                c. Buyer-brokers’ commissions must be paid uniformly regardless of the broker’s
                   experience, skill, or contribution to the homebuying process.

        142.    Additionally, Defendant deceptively omitted and concealed the amounts of buyer-

agent commissions offered to potential buyer-agents on MLSs and concealed that its listing

software steered buyers toward properties with higher buyer-agent commissions.

        143.    Defendant intended that Plaintiff and the other Subclass members rely on its

misrepresentations. Indeed, Defendant knowingly and intentionally made the deceptive

representations as to buyer-agent commissions in order to maintain the commissions at an

artificially elevated rate.

        144.    Plaintiff and the other Subclass members did actually rely upon and were actually

deceived by Defendant’s misrepresentations. Plaintiff and the other members of the Subclass

would have acted differently had they known that Defendant’s buyer-agent were inflated, such as



                                                38
     Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 39 of 41 PageID #:39




by, among other things, seeking out buyer-agents with discounted commissions or negotiating

lower commission rates.

        145.    As a direct and proximate result of Defendant’s anti-competitive, deceptive, unfair,

unconscionable, and fraudulent conduct, Plaintiff and the Subclass Members who have purchased

Defendant’s brokerage services have been harmed and suffered actual and ascertainable loss of

money through payment of higher prices for their homes and inflated buyer-agent commissions in

exchange for lower quality of services as a result of Defendant’s unlawful practices.

        146.    Plaintiff brings this action on her own behalf and on behalf of the other Subclass

members pursuant to Section 608 of the ICPA, under which Plaintiff and the other Subclass

members are entitled to an award of actual damages, restitution, an injunction or other equitable

relief, punitive damages, as well as an award of reasonable attorneys’ fees.

        147.    Accordingly, with respect to Count III, Plaintiff, individually and on behalf of the

proposed Subclass, prays for the relief set forth below.

                                              COUNT IV
                                         Unjust Enrichment
                                (On Behalf of Plaintiff and the Class)

        148.    Plaintiff realleges and incorporates by reference each of the foregoing allegations

as if fully set forth herein.

        149.    Defendant received benefits from Plaintiff and the Class members and unjustly

retained those benefits at their expense. Specifically, Plaintiff and the other members of Class paid

supracompetitive commissions to agents employed by Defendant or its co-conspirators.

Defendant’s financial benefits resulting from its unlawful and inequitable conduct are

economically traceable to overpayments for buyer-agent commissions by Plaintiff and the Class

members.




                                                 39
    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 40 of 41 PageID #:40




       150.    Additionally, Defendant promulgated and enforced anti-competitive rules for

residential real estate transactions, including the Mandatory Commission Rule, Commission

Concealment Rules, Free-Service Rule, Non-Modification Rules, MLS Manipulation Practice and

Lockbox Policy in order to raise, set, and maintain high commission rates and otherwise reduce

competition in the market for buyer-agent services for its own gain, providing Defendant with

economic, intangible, and other benefits. Defendant unjustly retained those benefits at the expense

of Plaintiff and Class members.

       151.    The benefits that Defendant derived from Plaintiff and Class members rightly

belong to Plaintiff and Class members. It would be inequitable under unjust enrichment principles

for Defendant to be permitted to retain any of the profit or other benefits it derived from the

anticompetitive, unfair, and unconscionable methods, acts, and trade practices alleged in this

Complaint.

       152.    Defendant should be compelled to disgorge in a common fund for the benefit of

Plaintiff and Class members all unlawful or inequitable proceeds it received.

       153.    Accordingly, with respect to Count IV, Plaintiff, individually and on behalf of the

proposed Class, prays for the relief set forth below.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on her own behalf and on behalf of the other Class and Subclass

members, prays that the Court enter an order:

               A.      Certifying the Class and Subclass proposed above, appointing Plaintiff as
                       class representative of the Class and Subclass, and appointing the
                       undersigned counsel as Class counsel;

               B.      Declaring that Defendant’s actions, as set forth in this Complaint, violate
                       Section 1 of the Sherman Act, 15 U.S.C. § 1;




                                                 40
    Case: 1:24-cv-03356 Document #: 1 Filed: 04/25/24 Page 41 of 41 PageID #:41




               C.       Declaring that Defendant’s actions, as set forth in this Complaint, violate
                        the Idaho Competition Act and the Idaho Consumer Protection Act;

               D.       Awarding Plaintiff and the other members of the Class and Subclass all
                        available damages, including treble damages and/or restitution in an amount
                        to be determined at trial;

               E.       Awarding Plaintiff pre- and post-judgment interest;

               F.       Awarding Plaintiff her costs of suit, including reasonable attorney’s fees
                        and expenses;

               G.       Awarding Plaintiff and the Class and Subclass a permanent injunction to
                        permanently enjoin and restrain Defendant from maintaining or re-
                        establishing the same or similar anti-competitive rules, policies, or practices
                        as those challenged in this action in the future; and

               H.       Awarding such further and additional relief as the Court may deem just and
                        proper.

                                  DEMAND FOR JURY TRIAL

       Plaintiff requests a trial by jury of all claims that can be so tried.

Dated: April 25, 2024                          Respectfully submitted,

                                                        JANET WALLACH, individually and on
                                                        behalf of similarly situated individuals

                                                        By: /s/ Paul T. Geske
                                                        One of Plaintiff’s attorneys

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                                                        and Subclass


                                                  41
